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Michael J Brosnahan OCT 1 8 2017
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Sedona Az. 86336 C BYD¥?§T%|SC_!FJ|§|;R|CTN COURT
mtk63 @hotmail.corn EPUTY

 

 

(928) 300-6030

UNITED STATES DISTRICT COURT
DISTRICT OF ARIZONA

No. CV-l6-()8277-PCT-DLR

Real Party In Interest:

MICHAEL J BROSNAHAN CIVIL ACTION

Consumer Clairnant
PURSUANT TO FAIR DEBT

P}aintjff, COLLECTION PRACTICES ACT 15
U. S. C. § 1692
V TRUTH IN LENDING ACT (TILA) 15
` U. S. C. § 1601

REAL ESTATE SETTLEMENT
PROCEDURES ACT (RESPA), 12
U.S.C. §2605

Federal Question 28 U.S.C. § 1331
DEMAND FOR JURY TRIAL Rule 38
SECOND AMENDED COMPLAINT

(ORAL ARGUMENT REQUESTED)

CALIBER HOME LOANS, INC., LSF9
MASTER PARTICIPATION TRUST,
AND SUMMIT SERVICE AND
REALTY LLC

AND/OR Real Party(s) In Interest:

Defendants.

(Honorable Douglas L. Rayes)

 

 

 

NOW COMES Plaintiff Michael J Brosnahan, pro per, is a natural person and Mr.
Brosnahan, acknowledges he is not schooled in law and by law is held to the “least
sophisticated consumer” standard He is a "Consumer" as defined by 15 USC l692a(3)(4),
private right of action 15 U.S.C. § 1692k, not Waiving any rights, Without prejudice,
hereby respectfully submits this CIVIL ACTION pursuant to Fair Debt Collection
Practices Act 15 U.S.C. § 1692, Truth in Lending Act (TILA), 15 U.S.C. 1601 et seq and

 

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Real Estate Settlement Practices Act (RESPA) 12 U.S.C. §2605 et seq. and is a Federal
Question 28 U.S.C. § 1331. Consumer is in the United States of America and any action
against him, or thing attached to him must be addressed in a Court of Competent

Jurisdiction, 28 U.S.C. § 1251 Original jurisdiction Any action against or concerning the

Consumer is an action against the United States of America by Defendants that are "Debt

Collectors" as defined pursuant to FDCPA, 15 U.S.C. § 1692a(6). Defendants alleged

foreclosure sale is imminent Defendants continue to break Federal Laws and threaten,

harass, abuse and trespass on Consumers' inalienable rights and the Consumers' principle
dwelling unique real property used primarily for personal, family, or household purposes
is in question; and for declaratory and injunctive relief.15 U.S.C. § 1692k(3)(d).

On and for the record for my appeal if necessary l hereby submit the following:
Verif`ied Second Amended Complaint complying with court Order dated September 19,
2017 In support thereof, Plaintiff hereby avers as follows:

Parties

1. Plaintiff Michael J. Brosnahan, appearing pro se, pro per, is a 62 year old man, natural
person who at all material times relevant to this complaint and is a "Consumer" as defined
by15 U.S.C. § 1692a(3)(4),

2. Defendant Caliber Home Loans, Inc. (“Caliber”) is a corporation incorporated under
the laws of the State of Delaware its principal place of business in Irving, Texas
75063. Caliber is a Subsidiary of the private equity firm Lone Star Funds.

3. Defendant LSF9 Master Participation Trust that is a Lone Star Fund Trust.

4. Defendant Summit Services Realty LLC is a fictitious name for Summit Trustee
Services, LLC. Summit Trustee Services, LLC a Delaware limited liability with its
principal place of business in the state of Texas. Caliber Home Loans, lnc. is the sole
member of Summit Trustee Services, LLC.(collectively “Defendants”)

5. At all relevant times, Defendants Caliber Home Loans lnc., LSF9 Master
Participation Trust, and Summit Services and Realty LLC “Defendants” and its agents

are in fact "Debt Collectors" as defined under the FDCPA. 15 U.S.C. § 1692a(6).

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6. Defendants have acted collectively and unlawfully as "Debt Collectors" and continue

to act recklessly or knowingly and commit the acts, cause or direct others to commit

the acts, or permit others to commit the acts alleged in this matter.

. Any allegations about the acts of the Corporations means those acts were committed

through their officers, directors, employees, agents, and/or representatives while

those individuals were acting within the actual or implied scope of their authority.

. Defendants jointly or separately, and its agents, have knowingly and repeatedly

violated the federal law prohibitions on Unfair, Deceptive, or Abusive Acts or
Practices (UDAAP) for financial services providers servicing and collecting on loans

that were wholly or partially void or uncollectible under TILA F ederal and State law.

. The concept that a debt collection communication must be viewed through the lens of

the “least sophisticated consumer” is a fairly established tenet of Fair Debt Collection
Practices Act (FDCPA law). Second Circuit Mar 22, 2016 ruling in Avila, et al. V.

RieXinger & Associates, LLC.
Real Property Description

10.21 Hummingbird Circle, Sedona, AZ 86336-7012. Parcel Number: Lot 33 of Chapel

Bell Estate Unit 4, According to Case 2 Maps, Page 324, Records Of Coconino
County, Arizona, APN N() 401-54046 , Min 1001337-0001411265-3

Jurisdiction and Venue

ll.This Federal Judicial Court has subject-matter jurisdiction over this action because it

presents a FEDERAL QUESTION, 28 U.S.C. § 1331, and is brought by a consumer
for Enforcement of Fair Debt Collection Practices Act (“FDCPA”) 15 U.S.C. § 1692,
Truth in Lending Act (TILA), 15 U.S.C. 1601 et seq Real Estate Settlement
Procedures Act (RESPA), 12 U.S.C. §2605 and 28 U.S. Code § 1251 28 U.S.C. § 1345
INJUNCTIONS AGAINST FRAUD under the United States of America Constitution
Article Ill section ll the right Sought to be protected herein are secured by the United
States of America Constitution by Acts of Congress, and federal common law and the

Supremacy Clause of the United States Constitution, Article VI, paragraph 2

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12. Venue is proper because Defendants alleged unlawful acts and business are conducted
in the Arizona Division of this District and defendants are therefore considered to be
residents, pursuant to 28 U.S. Code § 1391.

13. This is an action for damages which exceed $75,000.00.

14.Plaintiff contends that Defendants have conspired and committed unlawful acts in
order to wrongfully foreclose with total disregard for Federal Laws.

15. Plaintiff contends that Defendants have created and caused fabricated, false and forged
documents to be filed into the public records of Coconino County, Arizona and into
the United States District Court giving the appearance that there is a legal foreclosure
going while some or all of the Defendants continue to break the Federal Laws
unabated.

16. Plaintiff contends that this is common practice by some or all Defendants nationwide
and that some or all Defendants are under investigation by the Attorney General of
New York State.

17.Enforcement of a Non-judicial foreclosures to collect a debt require the purported
power of sale clause to be a lawful agreement, which in this case it was not.

18. Plaintiff hereby questions the authenticity and/or authority of all documents,
agreements, contracts, notes, signatures and/or the like by any and all parties.

PRELIMINARY STATEMENT

19. This is an action brought for damages for violations of the Federal consumer financial
laws, 12 U.S.C. § 5491, including but not limited to the Fair Debt Collection Practices
Act (“FDCPA”) and the Consumer Financial Protection Act of 2010 (“CFPA”). 12
U.S.C. § 5481(12)(H), (14). The Consumer Plaintiff has authority to bring private right
of action that extends to persons engaged in the collection of debts related to any
consumer financial product or service. 12 U.S.C. § 5481(5), (15)(A)(x). Consumer
Plaintiff has independent litigating authority to commence civil actions on his own to
address violations of “Federal consumer financial laws,” including the FDCPA and the

CFPA. 12 U.s.C. § 5564(3)_(15); 15 U.s.c. § 16921(15)(6) end Ree1Estete settlement

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Practices Act (RESPA) 12 U.S.C. §2605 et seq.; for damages for violations of the
Truth in Lending Act (TILA)15 U.S.C. §1641 et seq.; TILA, Helping Families Save
Their Homes Act of 2009 for damages attached to violations of the Fair Debt
Collection Practices Act (FDCPA) 15 U.S.C. §1692 et seq.; and for “Defendants”
breach of fiduciary and Conditions Precedent not met. Consumer Plaintiff is entitled to
relief under Federal Law to actual, punitive and statutory damages in addition to
declaratory and injunctive relief.
INTRODUCTION

20.Defendants jointly or separately, pursuant to Defendants own communications with
Plaintiff, said communications expressly states “THIS IS AN ATTEMPT BY A
DEBT COLLECTOR TO Collect a DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT Purpose ...” (emphasis Defendants),
thereby identifying Defendants Caliber Home Loans, Inc. and its agents, as a “debt
collector” to the Consumer. See Attached Plaintiff "Exhibit 1" Caliber Home Loans,
lnc letters.

21.This is Defendants bonafide admission and proclamation, there is no disputing this
fact. Defendants jointly or separately either misled the Consumer or this Court.

22.Furthermore, to ensure there is absolutely no confusion regarding this said “fact”
expressly stated in “Defendants” communications to Consumer, Defendants Caliber
Home Loans Inc. and its agents are a “Debt Collector" pursuant to 15 USC§1692a (6),
15USC §1681n,

23.Defendant CALIBER HOME LOANS lnc. and its agents, are a subsidiary of the
private equity firm Lone Star Funds and its agents.

24.Defendant Summit Services Realty LLC is a fictitious name for Summit Trustee
Services, LLC. Summit Trustee Services, LLC and Caliber Home Loans, Inc. is the
sole member of Summit Trustee Services, LLC.

25. Defendant LSF9 Master Participation Trust that is in fact a Lone Star Fund trust.

26. Lone Star, founded in 1995, is a private equity fund that invests in distressed financial

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and real estate loans. Because of its focus on purchasing bad loans for significant
discount, Lone Star is known in Wall Street parlance as a “vulture investor.” Lone
Star’s business model is focused on the short term with each of its funds having an
investment period of four years or less.

27.As a result, Lone Star LSF9 Master Participation Trust focuses on profiting through
the purchase of the distressed assets and selling them as quickly as possible, i.e.
foreclosure

28.This mortgage and others have been serviced by Lone Star’s subprime servicer,
Caliber Home Loans lnc., ranked by the National Housing Resource Center, as the
nation’s lowest-rated big servicer. Many of their loans have reportedly ended up in
foreclosure

29. To be clear, collectively “Defendants” jointly or separately are like a "snake eating its
tail" hidden in a self contained corporate conglomerate, built on a well oiled
"foreclosure mill". see Defendants "Corporate Disclosure"

30.Defendants have stipulated they acquired alleged debt or loan that was in default for
over eight years.

31.Thus, for FDCPA purposes, the distinction between a “loan servicer” and a “debt
collector” depends on whether the loan was in “default” at the time it was obtained.

32. FDCPA is designed to protect consumers from unscrupulous debt collectors, whether
or not there is a valid debt, it more importantly has to do with the conduct and
behavior of Debt collector, inflicted on the Consumer.

33.Congress intent is clear, the exemption is intended to include “mortgage service
companies and others who service outstanding debts for others, so long as the debts
were not in default when taken for servicing see 15 USC 1692a (F) (iii) "concerns a
debt which was not in default at the time it was obtained by such person." see May 1,
2000 the Federal Trade Commission (FTC) DeMayo opinion the word “default”. see
Wilson v. Draper & Goldberg, P.L.L.C., 2006 U.S. App. LEXIS 8243 (4th Cir. April

5, 2006) the court concluded that Draper's foreclosure activities were central to its role

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as fiduciary."Thus, to the extent [Draper] used the foreclosure process to collect
Wilson's alleged debt, they cannot benefit from the [exemption]." U.S. Fourth Circuit
Court of Appeals concluding that a debt remains a debt, even after foreclosure
proceedings commence

34.Defendants' jointly or separately threatened Consumer and set the unlawful
Foreclosure Sale to occur on November 23, 2016 at 11:30 AM. Violation of 15 USC
1692 (F) 6(A) see attached Plaintiff "Exhibit 2" Certified Letters "...To Collect A
Debt" and Defense "Exhibit 12"

35. Defendants' jointly or separately and subsequently canceled November 23, 2016. see
Defendants "Exhibit 13" Notice Of Cancel

36.Defendants' jointly or separately, doubled their unlimited liability by willfully,
maliciously and with knowledge of forethought initiated another foreclosure
proceeding against Mr. Brosnahan scheduled for February 27, 2017. The alleged
foreclosure sale by debt collector is imminent see attached Plaintiff "Exhibit 2" and
"Exhibit 3 " Certified Letters "...To Collect A Debt"

37 .Defendants' jointly or separately CALIBER HOME LOANS Inc. and its agents,
SUMMIT SERVICES AND REALTY LLC, acting administratively, on behalf of
LSF9 Master Participation Trust, acted as Judge and Jury breached their fiduciary
responsibilities as Trustees to Verify all documents and accounts.

38.Defendants' jointly or separately CALIBER HOME LOANS Inc. and its agents LSF9
Master Participation Trust, SUMMIT SERVICES AND REALTY LLC initiated
unlawful commencement of a non-judicial foreclosure proceeding against Consumer
Plaintiff without the proper Notice, accounting or documentation Violated TILA,
FDCPA RESPA and Deed of Trust "DOT". see below Counts I-IV

39. Therefore Consumer Plaintiff is apprehensive regarding the effect of any delay in the
issuance of the Order concerning this Application. Defendants' jointly or separately
unlawful actions, “Debt Collector”, as a debt collector, forwarded, or caused to have

forwarded, a communication regarding an attempt to collect an alleged “debt” as

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defined in 15 USC 1692a(5).

40. Consumer demands Defendant/debt collector immediately CEASE and DECIST
pursuant to 15 U.S.C. § 16920(0). Pursuant to 15 USC 1692c(c)(1)

41.Consumer, Mr. Brosnahan, believes 1) the alleged debt has been knowingly passed,
without ever being validated, from one company to the next in an attempt to conceal
material facts and evidence 2) That Defendants filed fabricated false and/or forged
documents into a public office and into this court; 3) and, that none of the above-
mentioned entities (i.e., Debt Collectors) are the true Creditor or Holder in Due Course
of the alleged note and debt in question to enforce a non judicial foreclosure

42. Defendants jointly or separately must, by F ederal Laws provide the Consumer, Proper
Notice and accurate accounting, identify and disclose who the alleged “CREDITOR”
is in this matter.

43.Defendants and its agents filed false and/or forged documents into a public office and
into this court, on or about August 24, 2016 see Defendants‘ Exhibits 1-14

44. And also November 12, 2016 and are in violation of A.R.S. § 39-161 on the false
presumption that they have standing to foreclose FRCP 17 (a).

45. Defendants and its agents violated FTC 16 C.F.R. § 433, (“Holder” Rule)

PLAIN STATEMENT OF FACTS
These are the material facts and evidence; they are and remain undisputed:

46. Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

47.Mr. Brosnahan and his family have owned the home for 24 years since February 02
1993, his principle dwelling unique real property, used primarily for personal, family,
or household purposes and made timely payments.

48. The veracity of the Consumer Claims and Facts in this case have been legitimized over
these eight years of Federal litigations by the: DOJ, CFPA and Attomey General
resulting with Countrywide, Bank of America, Deutsche Bank, and chen all having

multimillion dollar consent orders and Judgments against them.

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49. A Second Superseding F ederal Indictment, for Wilmington Trust.

50.The New York Attorney General opened an investigation into Caliber Home Loans
Inc. for their abusive practices.

51.December 2008 Countrywide Loans advised the consumer that he should quit paying
on his alleged loan so that he could qualify for their new lower refinance rate.
Consumer complied with Countrywide Loans request. Shortly after Countrywide
Loans took their ill gotten gains and then went bankrupt due to its criminal activity in
2009. Abandoned the Consumer to live in agony with the consequences of
Countrywide Loans financial crimes.

52. Since January 2009, Consumer Michael J Brosnahan lawfully acting in good faith, has
attempted to have a full and transparent accounting to discover the TRUTH of the
identity of who is the Creditor and who is the Holder in Due Course so that he knew
who he was exactly lawfully obligated to in the alleged transaction

53.Plaintiff Mr. Brosnahan sent TILA right of rescission letter dated May 15 2009:
Michael J Brosnahan legally mailed first class effectively rescinding the loan under
TILA. No response to dispute this was every received from the alleged creditor. See:
SCOTUS January 13, 2015 unanimous decision TILA, 15 U.S.C. § 1635, provides
borrowers with an unconditional right to rescind. See attached Plaintiff "Exhibit 4"
TILA 2009 Resided Letter.

54.Mr. Brosnahan notified Defendants of the TILA letter dated 2009. Mr. Brosnahan
informed “Defendants” and its agents who knowingly, Willfully and maliciously
continue to attempt to collect a debt on an alleged Loan that was Rescinded. See
Attached Plaintiff "Exhibit 7 "

55. On August 24, 2016, ignoring due diligence, Defendants jointly or separately acquired
the alleged loan from chen. By Defendants own admission that was eight years in
default and must now accept the filll moral hazard and unlimited liability of said
actions to became the alleged "present beneficiary", LSF9 Master Participation Trust,

by Caliber Home Loans, Inc., solely in its capacity as servicer, substituted the trustee

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and appointed Summit Services and Realty, LLC, as Trustee under the Deed Of Trust
"DOT".

56.After Notice by the Plaintiff, Defendants jointly or separately have no lawful
explanation of why they are attempting to collect on a Debt that has been rescinded in
2009. See Plaintiff "Exhibit 4" TILA 2009 Resection Letter.

57. Consumer has diligently and consistently acted in good faith to enforce his rights as a
consumer since January 2009.

58. Consumer Plantiff, has been mocked, humiliated, threatened, bullied and terrorized by
all of the Defendants jointly and or separately, Caliber Home Loans, Inc.,LSF9 Master
Participation Trust, and Summit Services and Realty LLC (collectively “Defendants”)
in this action as well as their predecessors over the past eight year.

59.None of the subsequent debt collectors have been able to validate the debt with
authentic accounting documentation and or Clearly ldentify the real Creditor to the
consumer and who the real party of interest is in the transaction or to lawfully
foreclose.

FACTUAL ALLEGATIONS

60. Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs as if
more fully set forth herein below.

61.All Defendants jointly or separately involved have clouded the title by filing and or
knowingly and using false and forged documents in attempt to steal the consumer
unique real property and when they could not lawfully foreclose, then knowingly
breached their fiduciary duty to disclose and passed the false and forged documents
through along with undocumented and unverified alleged debt to the next debt
collector who knowingly continued the unlawful paper trail. See attached Plaintiff
"Exhibits 5" "Evidence of Robo-Signing "Texas Secretary of State Letter RE:
Complaint INPC 22531 See Plaintiff "Exhibit 6" More Evidence of Robo-Signing and
see Defense "Exhibits 1-14" That clearly demonstrates this habitual pattern of abuse.

62.Defendants jointly or separately still allege there is a clear chain of title. It is clear by

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63.

the Defendants own time line admission that the alleged Assignments and other related
documents were not executed correctly in the ordinary course of business, as required
by law and defendants clouded the title in an attempt to "push through" this unlawful
Debt collection with a mortgage foreclosure using fabricated, false and forged
documents. The Defendants exhibits 1- 14 are in fact "hearsay” and inadmissible as
evidence in this Court. The veracity of accounting and the Affidavit by now is in
question.

Defendants jointly or separately are attempting to mislead the Consumer and the Court
with fabricated, false and forged documents There is no clear chain of title,
Defendants have no standing and are unable to enforce, therefore are nothing more

than a ”debt collector" as defined in FDCPA and other consumer protection laws.

64.The history of the many irregularities and of false and forged documents, Texas

65.

Notary Complaint and Consumer 2009 TILA letter were disclosed by Consumer
Plaintiff in good faith to Defendant's Lead Counsel in our pre-trial meeting on
December 27, 2016 in a sincere effort to settle this matter before trail and also
disclosed in a letter to Caliber Home Loans, Inc. dated June 27, 2016.see Plaintiff
"Exhibit 4,5,6, 7 and 8"

Defendants' actions may have Triggered violations of 31 U.S. Code § 3729 - False
claims False Claims Act “(FCA”).

66.Court must now question the Defendants veracity of their accounting and

67.

68.

documentation see DAVID KESTER V. ClTlMORTGAGE, INC. | 9th Cir ~ “the
recording of false or fraudulent documents that assert an interest in a property may
cloud the property’s title” September 29, 2017

The fact that Defendants made a faulty presumption and violated 15 U.S.C. § 1692
does not excuse them from liability under a bona fide error defense as stated in Jerman
v. Carlise, NcNellie, Rini, Dramer & Ulrich, L.P.A. 538 F.3d 469,471 (6th Cir. 2008).
Consumer did receive on May 31. 2017 from “debt collector" Caliber without his

expressed permission “debt collector” communications These communications

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violates the FDCPA pursuant to 15 USC § 16920 (a), as Consumer did not authorize
and/or give direct prior consent for “debt collector" to communicate with Consumer
regarding this or any alleged debt.

69.Additionally, pursuant to 15 USC 16920 (a), their communications were sent without
the express permission from a Court of Competent Jurisdiction. This violated 15 USC
§ 1692a (4), l692d, 1692e (11) and 1692g.

70.0n or about March 15, 2016, LSF9 MASTER PARTICIPATION TRUST allegedly
acquired an interest of "ownership". "Dethollector"LSF9 MASTER PARTICIPATION
TRUST sent Consumer on March 25,2016 "Notice of Ownership of Mortgage Loan"
nowhere in the correspondence did they claim to be the "Creditor" or "Holder In Due
Course".

71.1n the case involving this particular assignment, Defendants executed a document
entitled “Notice of Ownership of Mortgage Loan” which contained no warranties of
title or interest, showing that “LSF9 Master Participation Trust” is in fact not a trust
holding beneficial rights to the Defendants’ loan, but rather it is an undisclosed
“Participation Agent” for yet more undisclosed investors identified as simply "Us" in
correspondence, this is in violations of TILA, Helping Families Save Their Homes Act
of 2009,15USC§ 1692a(4), l692c(a) and Plain Writing Act of 2010.

72. On or about May17, 2016 Debt Collector chen, a known criminal organization as
evidenced by recent findings and news reports and a consent order of $125 million,
knowingly transferred the undocumented and unverified alleged debt to Defendants
jointly or separately who ignored "Due Diligence" and accepted the transfer of the
alleged debt and did so with full knowledge and understanding and accepting full
"Moral Hazard" of the transaction on March 15, 2016. Defendants jointly or
separately violated 15 USC§l692a (4), 1692e, 1692e (2) (A) and other sub-paragraphs

73.Defendants jointly or separately violated the FTC 16 C.F.R. § 433, (“Holder” Rule)
makes any assignee or holder of the credit contract responsible for claims the

consumer might have against the seller.

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74. Defendants executed a document entitled “assignment” that contained no warranties
of title or interest, which is a breach of fiduciary duty to Mr. Brosnahan. see Defense
exhibits 1-14

75. Defendants jointly or separately on or about May17, 2016 CALIBER HOME LOANS
and its agents, then stole consumer's identity, i.e., "identity theft” in accordance with
18 U.S. Code § 1028A and section 523 of the Gramm-Leach-Bliley Act 15 U.S.C.
6823 and created a new account 9804xxxxx, without the Consumer’s authorization,
then sent threatening and harassing communications, in violation of 15 USC 1692d, in
the form of CALIBER HOME LOANS and its agents “NOTICE OF SALE OF
OWNERSHIP OF MORTGAGE LOAN" letter dated May 31, 2016 and another letter
dated June 03, 2016.

76.Debt Collector’s violation of FTC 16 C.F.R. § 433, (“Holder” Rule) makes any
assignee or holder of the credit contract responsible for claims the consumer might
have against the seller. Which is Mail Fraud 18 USC 1341, 1342 & 1345; 39 USC
3005 & 3007

77 .CALIBER HGME LOANS and its agents, "debt buyers" cannot authenticate their
collection activities, as required by contract and Federal Law, with rudimentary
documents including: Debt Validation, ldentity of the Creditor, authentic full
accounting original contracts, the Note,

78. Defendants cannot verify that the underlying alleged debt is not fraudulent or the chain
of title evidencing that the debt buyer had standing FRCP Rule 17 (a) to collect a debt
through a non judicial foreclosure on consumer. see Wilson v. Draper & Goldberg,
P.L.L.C., 2006 U.S. App. LEXIS 8243 (4th Cir. April 5, 2006)

79.Defendants jointly or separately recorded two non judicial documents for the
foreclosure without authenticating the alleged facts. Defendants executed a document
entitled “assignment” that contained no warranties of title or interest, See Defense
"Exhibits 12 and 14"

80.Defendants and its agent's documents are self-serving instruments not based upon

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anything authentic that occurred in real time. The actual source of the document and
their fabrication is concealed by the Servicer. lt is now clear that the change in servicer
involves no actual "boarding” process or "Due Diligence" and this is why Defendants
allegations in their narrative make no sense to any reasonable person.

81. The actions by Debt Collector would lead an "unsophisticated consumer" to believe he
is responsible to pay the alleged debt, a violation of 15 USC § 1692a (4), 1692f (6)
(A)-

82.Plaintiff On June 27, 2016, Consumer, in good faith, corresponded to Defendants and
its agents that they were Harassing the Consumer. Consumer also asked the Debt
Collector to identify themselves more clearly and describe the nature and history of
the alleged debt. Consumer disputed said alleged Debt and attempted discover who
the Creditor and Holder In Due Course is in accordance with RESPA Qualified
Written Request and FDCA debt validation. see attached Plaintiff "Exhibit 7"

83. Furthermore, Consumers' correspondence to Defendants and its agents stated: "...
T his letter further constitutes my Requestfor Michael J Brosnahan complete Loan File
pursuant to TILA, RESPA FDCA and Arizona Law. Please consider this my response
to your “NOTICE OF SALE OF 0WNERSHIP OF MORTGAGE LOAN" letter
dated May 31, 2016 and another letter dated June 03,201 6 from Mary Elis Senior Vice
President CALIBER HOME LOANS that identified CALIBER HOME LUANS was now
the "Loan Servicer " and "Debt collector”. T hese letters asking me to dispute the
validity of the debt within thirty days. 1 am currently acting in good faith so 1 may have
quiet and peaceful enjoyment of my home. 1 will attempt to be concise in my response
as there are many misrepresentations and violations to address in your letter...

84. On August 05, 2016, 45-days later, Consumer received a communication from Debt
Collector that was nonresponsive and refused to acknowledged any of the
consumers legitimate concerns that they were previously informed: " CALIBER
HOME LOANS and its agents must accept the full "Moral Hazard " of their continued

willful ignorance and their actions that continue to purposefully obfuscating facts and

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laws. CALIBER HOME LOANS and its agents can no longer claim "plausible
deniahility". CALIBER HOME LOANS and its agents cannot expect to legally collect
on an alleged Loan/Debt it allegedly claims originated on May 25, 2006 and
simultaneously turns a blind eye as to the fraudulent nature of the origination,
accounting irregularities, statutory violations and false and forged documents that
it is maliciously using in an attempt to steal Consumer unique real property."
violation of (RESPA), 12 U.S.C. §2605 See Attached Plaintiff "Exhibit 7"

On August 24, 2016: With no authority Defendants and its agents, jointly or
separately, by and through their ens legis, cause to have filed and recorded false and/or
forged documents in the Coconino County Recorder’s Office. See Defense "Exhibit
12"

Defendants' jointly or separately obtained and used affidavits, under the color of law,
that were patently false and misleading which were then recorded into the Coconino
County Recorder's Office, clouding the title, affiants of said affidavits claimed they
had personal knowledge of the validity and ownership of debts. Filed into this Court
See Defense Exhibits 1-14

Defendants know that many of these affidavits were executed by persons who lacked
personal knowledge of the facts and were never party to the contract. See Defense
Exhibits 1-14 And See 02/10/11Case No. 810-77338-reg ln re: Ferrel L. Agard,
Debtor, Chapter 7 “Aside from the inappropriate reliance upon the statutory
definition of “mortgagee,” MERS’s position that it can be both the mortgagee and
an agent of the mortgagee is absurd, at best... " Judge Grossman, Federal
Bankruptcy Court Eastern District of New York.

Consumer is the only natural person with personal and first-hand knowledge of the
fact regarding this matter.

Defendants jointly or separately Filing of the affidavits was a “false, deceptive, or
misleading representation” made in connection with collection of a debt violates 15

U.S.C. § 1692e, furthermore, “unfair or unconscionable means” to collect a debt in

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violation of 15 U.S.C. § 1692f. Defendants’ acts and practices constitute violations of
sections 807(3) and 807(10) of the FDCPA. 15 U.S.C. § 1692e(3), (10) and Mail
Fraud 18 USC1341, 1342 & 1345; 39 USC 3005 & 3007.
90.0n August 24, 2016 in response to Consumer's good faith communication, Debt
Collector, acting in bad faith, took a punitive measure on the "consumer asking for
debt validation" and willfully, maliciously and with knowledge of forethought
recorded a Trustee Sale, scheduled November 23, 2016. See Attached Plaintiff
"Exhibit 2"
91.Defendants jointly or separately actions threatened the Consumer in their attempt to
collect an alleged debt and they are terrorizing and attempting to extort the consumer
regarding a debt they knew and know not to be legitimate
92.Defendants are seeking to illegally seize possession of Consumer Mr. Brosnahan’s
home and to unlawfully take possession of (i.e.,“steal") the consumers' principle
dwelling unique real property to obtain unlawful enrichment by concealing the true
parties to the fraud from an alleged loan and using “unfair or unconscionable means”
to collect a debt in violation of 15 U.S.C. § 1692f. 1692f (6)(A).
93.0n September 15, 2016 acting in good faith, Consumer, concerned about Defendants
ongoing threats, abuse and harassments sent by USPS Certified Mail # 7016 0910
0000 7647 4611 “NOTICE OF DISPUTE AND DEMAND FOR VERIFICATIGN OF
DEBT 1N ACCORDANCE WITH 15 USC 1692 (FDCPA) to Debt Collector CALIBER
HOME LOANS and its agents again demanding proof of claim .'
BE ADVISED AND NOTICED.' Account Loan Number: xxxxxx9874 (alleged
“Loan”). NOTICE.' Any lawyer responsible for false debt collection claim will be
held accountable under the F air Debt Collection Practices Act, 15 USC 1692.
94. Plaintiff clearly stated... I will bring suit against your agency for violations of
federal and state consumer protection laws. Therefore, this notice can be construed
as a Notice of1ntent to bring such action if your response does not support a legal

debt “owed” to your agency " Consumer copied.' Arizona Attorney General Mark

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Brnovich Civil Litigation Division Consumer Protection and Advocacy Ojj‘ice Section
Tucson O]j‘ice who opened a case file: CIC 1 6-0094 79 / CALIBER HOME LOANS

95. On or about October 09, 2016, under the color of law, Defendants and its agents, by
and through their ens legis ignored and violated the Posted: "Private Property, No
Trespass, No Photographs" signs on Consumer’s property; did in fact violate
consumers privacy, photograph, trespass, threaten, harass and abuse Consumer when it
was publicly posted on the front gate of Consumers home for all neighbors and
passersby to see: The "Foreclosure Trustee Sale Notice" that clearly stated "THIS
OFFICE ISATTEMPTING T 0 COLLECTA DEBT". See Defense Exhibit 12

96.Defendants actions violate ‘third party disclosures', a violation pursuant to Section
15U.S.C.§1692e(3),(10),1692e(2)(A)(10),1692f(6)(A)(B)(C)1692d,1692c(b),A.R.S.13
-1504 Criminal Trespassing in the First Degree.

97. Plaintiff. On October 20, 2016 sent correspondence via USPS Certified Mail Tracking
7016 0910 0000 7644 4928 to Arizona Attorney General Mark Brnovich Civil
Litigation Division Consumer Protection and Advocacy Office Section Tucson Office
regarding case file: CIC 16-009479 / CALIBER HOME LOANS and “Debt Collector”
USPS CERTIFIED MAIL TRACKING # 7016 0910 0000 7644 4911. ..T his action is
a violation of 15 USC 1692d§ 806, along with Furnishing Certain Deceptive Forms,
USC 1692]' § 812,' False Or Misleading Representations,15 USC 1692e § 807,'
Communication 1n Connection With Debt Collection, 15 USC 16920 § 805...Plaintiff
pg3 Notice.'.. Consumer here by demands that Debt Collector, CALIBER HOME
LUANS and its agents, immediately Cease and Desist any and all Foreclosure
actions. "

98.Plaintiff on November 05, 2016 sent correspondence to Defendants USPS Certified
Mail Tracking #7016 0910 0000 7644 8483 the Debt Collector, " Notice: Consumer
here by demands that Debt Collector, CALIBER HOME LOANS and its agents,

 

immediately Cease and Desist any and all Foreclosure actions " Exercising my

right to private action, 1 will bring suit against you, personally, and your agency for

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violations of federal and state consumer protection laws. Therefore, this notice can
be construed as a Notice of 1ntent to bring such action, as your non-response does not
support a legal debt “owed” to your agency..."Should you continue to choose and
pursue your unlawful Foreclosure, trespass, harassment threats, identity theft and
other actions, pursuant to your admission you are doing so with full knowledge and
understanding and FOR THE RECORD, accept all associated liabilities, penalties,
fees, fines and punitive damages etc. " see Plaintiff "Exhibit 8" F ederal Trade
Commission (FTC) mail receipt .

99.Plaintiff on November 12, 2016, filed complaint with the CFPA over debt collector's
abusive behavior. See consumerfinance.gov CFPA Case number 161112-000216

100. On November 23, 2016,11Al\/1. Trustee sale, Consumer physically went to
Flagstaff court steps and was informed by the realtor Jodie xxx, commissioned by the
Debt Collector, that the sale was PERMANENTLY CANCELLED, 5 minutes before
alleged sale, with no notice to consumer.

101. Plaintiff believes Defendants actions are prima facie evidence of the truth, facts
and evidence asserted by the consumer in this matter over the past eight years is true
and correct and there is no evidence to the contrary. FDCPA § 1692e says a debt
collector cannot use any false, deceptive, or misleading representation or means in
connection with the debt collection and 1692e(5) says the debt collector cannot
threaten to take any action that cannot legally be taken or that is not intended to be
taken. Violated 15 USC 1692f (6)(A)

102. November 22, 2016, one day before the foreclosure sale, Defendants jointly or
separately, by and through their ens legis, acting in bad faith, with malice and
aforethought responded to CFPB complaint, purposely obfuscating facts and willful
concealing determining factors in this; Case number 161112-000216, 63 pages, using
legalese (prohibited under FDCPA) that misrepresents the material facts, omits
evidence and stubbornly remains unapologetic and displays a willful ignorance of their

abusive behavior and actions towards the Consumer, with no notice of the cancelled

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trustee sale Consumer Received this communication on November 28, 2016.

103. November 28, 2016 continued their harassment, as Defendants jointly or
separately, by and through their ens legis, cause to have filed and recorded false and/or
forged documents in the Coconino County Recorder’s Office: "Notice Of Trustee
Sale" Filing of the affidavit was a “false, deceptive, or misleading representation”
made in connection with collection of a debt in violation of 15 U.S.C. § l692e, and
that it used “unfair or unconscionable means” to collect a debt in violation of 15
U.S.C. § 1692f. Defendants’ acts and practices constitute violations of sections 807(3)
and 807(10) of the FDCPA. 15 U.S.C. § 1692e(3), (10) and Mail Fraud 18 USC 1341,
1342 & 1345; 39 USC 3005 & 3007,15 USC 1692f(6)(A). See Defense "Exhibit 14"

104. December 02, 2016 Consumer disputed Response filed November 22, 2016 by
Debt collector to Consumer complaint with the CFPA over Debt Collectors abusive
behavior see consumerfinance.gov CFPB Case Number 161112-000216: "Any
reasonable person can see after reviewing the substantial irregularities in the
accounting, paperwork, solid evidence and facts presented herein, why this matter has
been ongoing for more than eight years without equitable resolution T he Consumer
has acted in good faith and worked diligently since January 01, 2009 to resolve this
dispute. He believes the any Court ofCompetent Jurisdiction will find..

105. December 15, 2016 Consumer received correspondence from Defendants they
were debt collectors and that they would comply with the FDCPA and cease all
communications See Attached Plaintiff "Exhibitl"Caliber Home Loans, Inc "Debt
Collector Letters"

106. December19, 2016, Consumer; harassed again when he received correspondence
from Defendants in violation of 15 USC 16920

107 . December 23, 2016, Consumer; harassed again when he received correspondence

from Defendants in violation of 15 USC l692c, 1692j

PLAINTIFF HEREBY STATES THE CLAIM FOR WHICH RELIEF CAN BE
GRANTED UNDER RULE 12(b)(6) AS FOLLOWS:

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COUNT I
DEFENDANTS CONDITIONS PRECEDENT NOT MET

108. Consumer Michael l Brosnahan reaffirms and re-alleges the preceding paragraphs
as if more fully set forth herein below.

109. Defendants jointly or separately to act upon these claims would divest Consumer
from his property and his prerogative rights, resulting in legal injury.

110. The failure of Defendants to properly Notice Mr. Brosnahan and accelerate their
own alleged loan, as an essential prerequisite to foreclosure, is at issue because
defined in Paragraph twenty-two Deed of Trust, in clear and is unambiguous terms
(see Defense "Exhibit 1" DOT) provides, in pertinent part, the following:

111. "Acceleration; Remedies, w shall give notice to Borrower prior to
acceleration following Borrower’s breach of any covenant or agreement in this
Security Instrument...

112. "T he notice shall specify:(a) the default; (b) the action required to cure the
default,' (c) a date, not less than 30 days from the date the notice is given to
Borrower, by which the default must be cured,' and (aD that failure to cure the default
on or before the date specified in the notice may result in acceleration of the sums
secured by this Security Instrument, and sale of the Property. " see Zervas v. Wells
Fargo Decision Case No. 2D11-750 Opinion filed July 18, 2012 THE DISTRICT
COURT OF APPEAL OF FLORIDA SECOND DISTRICT Konsulian v. Busey Bank,
N.A., 61 So. 3d 1283, 1285 (Fla. 2d DCA 2011) Sandoro v. HSBC Bank, 55 So. 3d
730, 732 (Fla. 2d DCA 2011).

113. Consumer did_no_t receive this notice from the alleged "Lender" this prior tg_bg_tl_l
non judicial proceedings see Plaintiff "Exhibit 2" and "Exhibit 3" Certified Letters
114. The Due Process Clause of the United States Constitution requires “timely

individual notice...before their property can be adversely affected”. See

Volkswagenwerk Aktiengesallschaft v. Schlunk, 486 U.S. 694,707 (1988)

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115 . Furthermore the parties to a contract should bear in mind that condition precedent
clauses are ultimately “conditions”. A condition on its own is an important term in a
contract and one that is said to go “to the root of the contract”.

116. When a condition is broken the innocent party (Plaintiff) is entitled to terminate the
contract and claim damages

117. Defendants’ failed and breached their Fiduciary Duty in the contract: Defendants
by and through employees of Defendants’ ens legis breached the contract by creating a
"Substitution Of Trustee" not "appointed" by the "Lender".

118. Defendants and its agents, jointly or separately breached Fiduciary Duty in the
contract: violated Paragraph twenty-four Deed of Trust provide, in pertinent part, the
following: "Substitute Trustee. M may, for any reason or cause, from time to time
remove Trustee and appoint a successor trustee to any Trustee appointed hereunder.
Without conveyance of the Property, the successor trustee shall succeed to all the title,
power and duties conferred upon Trustee herein and by Applicable Law. " (Emphasis
added) See Defendants "Exhibit 10"

119. The "DOT" contract is unambiguous and that means ONLY “Lender” and No One
M may appoint a successor Trustee Substitution of trustee can only be assigned by
the "1ender". Defendants by and through employees of Defendants’ ens legis created a
unlawful "Substitution Of Trustee" without the "Lender" involved. Defendants
executed a document entitled “assignment” that contained no warranties of title or
interest, Once a court finds a violation, there is no discretion with regard to imposition
of the penalties [Grant v. Imperial Motors (5th Cir. 1976)] FRCP 9 (c)

120. Defendants and its agents, jointly or separately, by and through their ens legis,
cause to have filed and recorded fabricated, false and/or forged documents in the
Coconino County Recorder’s Office "Substitution ()f Trustee" Dated: 08-24-2015 that
clearly breaks the chain of title See Defense "Exhibit l" "DOT" paragraph 24 -

121. Defendants and its agents, jointly or separately violated Paragraph twenty-five

Deed of Trust: Time of Essence. Time is of the essence in each of the covenants of

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this security instrument
122. WHEREFORE, Plaintiff demands judgment against Defendants jointly or
separately for actual, statutory, treble and/or punitive damages and attorney’s fees and

costs, along with any other and further relief as the court deems just and proper.

COUNT II
DEFENDANTS VIOLATION OF REAL ESTATE SETTLEMENT
PROCEDURES ACT (RESPA), 12 U.S.C. §2605

123. Consumer Michael 1 Brosnahan reaffirms and re-alleges the preceding paragraphs
as if more fully set forth herein below.

124. Defendants jointly or separately are servicers of a federally related mortgage loan
within the meaning of the Real Estate Settlement Procedures Act (RESPA), 12 U.S.C.
§2605.

125. Plaintiff’s June 27, 2016 written requests for information about his account and
correction of Defendants’ numerous errors were “qualified written requests” within
the meaning of RESPA.

126. Defendants jointly or separately deliberately failed to respond in a proper and
timely way to Plaintiff`s “qualified written requests” for information about, and
corrections to, his mortgage account, in violation of 12 U.S.C. §2605(e).
WHEREFORE, Plaintiff demands judgment against Defendants jointly or separately
for a proper accounting and application of his mortgage payments and for actual,
statutory, treble and/or punitive damages and attorney’s fees and costs, along with any
other and further relief as the court deems just and proper, pursuant to 12 U.S.C.

§2605.
coUNT nl
Defendants vloLATIoN oF TRUTH IN LENDING ACT (TILA), 15 U.s.C. §1641

127. Consumer Michael l Brosnahan reaffirms and re-alleges the preceding paragraphs
as if more fully set forth herein below.
128. Defendants jointly or separately committed “ldentity Theft” in accordance with 18

U.S. Code § 1028A and section 523 of the Gramm- Leach-Bliley Act 15 U.S.C. 6823

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and created a new account 9804xxxxx, without the Consumer’s authorization

129. Defendants jointly or separately Violation TILA, 15 U.S.C. § 1635: Consumer
noticed Debt collector and ignored TILA Rescission, and attempted to collect debt
after notice See SCOTUS unanimous decision January 13, 2015 (Jesinoski v.
Countrywide Home Loans, 1nc., 2015 WL 144681 ). See Attached Plaintiff "Exhibit
4" TILA 2009 Rescission Letter.

130. Defendants jointly or separately therefore violated Federal Law by refusing to
rescind. (See: Arnold v. W.D.L. Invs., Inc., 703 F.2d 848, 850 (5th cir. 1983) (clear
intention of TILA and Reg. Z is to make sure that the creditor gets notice of the
Borrower’s intention to rescind).

131. Defendants jointly or separately violated TILA and claim they represent the
"Lender" or "Creditor" and are a party to the contract "DOT" and have not
cancelled the security interest and returned all monies paid by the Plaintiff, within
the 20 days of receipt of the original Notice of Rescission, Defendants are
responsible for actual and statutory damages pursuant to 15U.S.C.§1640(a). the
liability is on the "Lender" see Plaintiff "Exhibit 4" TILA 2009 Rescission Letter.

132. Debt Collector violation of FTC 16 C.F.R. § 433, (“Holder” Rule) makes any
assignee or holder of the credit contract responsible for claims the consumer might
have against the seller

133. Defendants jointly or separately violated TILA, A new creditor must provide notice
of its status pursuant to 15 U.S.C. §164l(g)

134. Helping Families Save Their Homes Act of 2009 states;

135. NOTICE OF NEW CREDITOR _ (1) IN GENERAL.-In addition to other
disclosures required by this title, not later than 30 days after the date on which a
mortgage loan is sold or otherwise transferred or assigned to a third party, the creditor
that is the new owner or assignee of the debt shall notify the borrower in writing of
such transfer, / including -

136. (A) the identity, address, telephone number of the new creditor;(B) the date of

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transfer;(C) how to reach an agent or party having authority to act on behalf of the
new creditor;(D) the location of the place Where transfer of ownership of the debt
is recorded; and (E) any other relevant information regarding the new
creditor.(emphasis add)

137. Defendants jointly or separately failed in their duty to send proper notice to

Plaintiff.

138. Under TILA's statutory penalty provisions, a creditor can be liable to the consumer
in an amount equal to twice the amount of the finance charge imposed, but not less
than $100 nor more than 81,000 [15 U.S.C. Section 1640(2)(a)].

139. WHEREFORE, Plaintiff demands judgment against Defendants for and for
actual, statutory, treble and/or punitive damages, and attorney’s fees and costs, along
with any other and further relief as the court deems just and proper, pursuant to

pursuant to 15 U.S.C. §1640(a) and 15 U.S.C. § 1635 (b)
COUNT IV
DEFENDANTS VIOLATION OF FAIR DEBT COLLECTION
PRACTICES ACT (FDCPA), 15 U.S.C. §1692
140. Consumer Michael J Brosnahan reaffirms and re-alleges the preceding paragraphs

as if more fully set forth herein below.

141. Defendants jointly or separately Violated 15 USC 16920(a)
Without the prior consent of the Consumer given directly to the debt collector or the
express permission of a court of competent jurisdiction a debt collector may not

communicate with a consumer in connection with the collection of any debt.

142. Defendants jointly or separately Violated 15 USC § 1692a(4) The term "creditor"
means any person who offers or extends credit creating a debt or to whom a debt is
owed, but such term does not include any person to the extent that he receives an
assignment or transfer of a debt in default solely for the purpose of facilitating

collection of such debt for another.

143. Defendants jointly or separately Violated 15 U.S.C. §1692d by engaging in

conduct the natural consequence of which is to harass, oppress, or abuse any person

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144. Defendants jointly or separately Violated 15 U.S.C. §1692e(2) by falsely

representing the character, amount, or legal status of any debt.

145. Defendants jointly or separately Violated 15 U.S.C. §1692e(6) by sale or transfer
of any interest in the debt will cause the consumer to lose any claim or defense to

payment of the debt.

146. Defendants jointly or separately Violation of FTC 16 C.F.R. § 433, (“Holder”
Rule) makes any assignee or holder of the credit contract responsible for claims the

consumer might have against the seller

147. Defendants jointly or separately Violated 15 U.S.C. §1692e(8) by communicating
or threatening to communicate to any person credit information which is known or
which should be known to be false, including the failure to communicate that a

disputed debt is disputed.

148. Defendants jointly or separately Violated 15 USC 1692f (6)(A) (6) Taking or
threatening to take any non judicial action to effect dispossession or disablement of
property if -- (A) there is no present right to possession of the property claimed as

collateral through an enforceable security interest;

149. Defendants jointly or separately Violated 15 U.S.C. §1692e(10) by the use of any
false representation or deceptive means to collect or attempt to collect any debt or to

obtain information concerning a consumer.

150. Defendants jointly or separately Violated 15 U.S.C. §1692f(1) by the collection of
any amount (including any interest, fee, charge, or expense incidental to the principal
obligation) unless such amount is expressly authorized by the agreement creating the

debt or permitted by law.

151. Defendants jointly or separately Violated 15 U.S.C. §1692f (6) taken or threatened

to unlawfully repossess or disable the consumer’s property.

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152. Defendants jointly or separately Violated 15 U.S.C. §1692 e(5) misleading
representation or means in connection with the debt collection and says the debt
collector cannot threaten to take any action that cannot legally be taken or that is not

intended to be taken
153. Defendants jointly or separately Violation of 15 U.S.C. § 1692e “false, deceptive,

or misleading representation” made in connection with collection of a debt in violation

of, and that it used “unfair or unconscionable means” to collect a debt and

154. Defendants jointly or separately Violation of 15 U.S.C. § 1692f. Defendants used
affidavits in which the affiants represented that they had personal knowledge of the
validity and ownership of debts By using these affidavits, Defendants represented,
directly or indirectly, expressly or by implication, that those affiants had personal
knowledge of the validity and ownership of the debts ln numerous instances in which
they submitted such affidavits, Defendants knew or should have known that the

affiants in fact did not have such personal knowledge

155. Defendants’ representations as set forth in this Complaint were false or misleading
and constituted deceptive acts and practices, in violation of sections 1031(a) and
1036(a)(l)(B) of the CFPA. 12 U.S.C.§§ 553 l(a), 5536(a)(1)(B).Defendants’ use of
such affidavits falsely represented to consumers the character, amount, or legal status
of debts Defendants’ use of such affidavits constituted false representations or
deceptive means to collect or attempt to collect debts Defendants’ use of such
affidavits was an unfair or unconscionable means used to collect or attempt to collect
debts Defendants’ acts and practices constitute violations of sections 807(2)(A),
807(10), and 808 ofthe FDCPA. 15 U.S.C. §§ 1692e(2)(A), (10), 1692f.

156. Defendants jointly or separately Violation December 15, 2016 violation of 15
USC 1692 received correspondence from Defendants acknowledge cease and desist

15 USC l692c(1)

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157 . Plaintiff has demonstrated that Defendants have violated FDCPA by their willful
failure to state a material fact, or the willful concealment of a material fact in their

commencement of a non judicial foreclosure to collect a debt against the Plaintiff.

158. The intent of the Defendants actions was that the Plaintiff would rely on their false
and coercive statements and just “pay up” rather than exercise his rights as dictated by
the FDCPA and not bring suit against the Defendants for their violations of the

FDCPA and other consumer protection laws

159. Defendants Violation December 19, 2016 violation of 15 USC 16920(1) Consumer
was harassed again when he received correspondence from Defendants after told to

cease and desist 15 USC 1692c, 1692j See Attached Exhibit

160. Defendants Violation December 23, 2016 Consumer was harassed again when he

received correspondence from Defendants in violation of 15 USC 1692c, 1692j

161. WHEREFORE, Plaintiff demands judgment against Defendants Caliber Home
Loans, lnc., LSF 9 Master Participation Trust, and Summit Service and Realty LLC
jointly and separately for actual or statutory damages, and punitive damages, attomey's
fees and costs, along with any other and further relief as the court deems just and

proper pursuant to 15 U.S.C. §1692k

DEMAND FOR JURY TRIAL
162. Plaintiff hereby demands a trial by jury of all issues so triable as a matter of law.
Federal Rules of Civil Procedure Rule 38
CONCLUSION
Plaintiff has made detailed allegations with particularity with Facts and
Evidence, that the Defendants have used written representations of exaggeration and
falsehood, which is precisely what is required for an action to be brought under FDCPA,
TILA,RESP and other consumer protection laws The FDCPA is a remedial statute
Hamilton v. United Healthcare of Louisiana, Inc., 310 F. 3d 385, 392 (5th Cir. 2002). The

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remedial nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital
Credit & Collection Services, Inc., 460 F. 3d 1162, 1176 (9th Cir. 2006). “Because the
FDCPA, like the Truth in Lending Act (TILA) 15 U.S.C. § 1601 et seq., is a remedial
statute, it should be construed liberally in favor of the consumer.” Johnson v. Riddle, 305
F. 3d 1107, 1117 (20th Cir. 2002). Also See SCOTUS (TILA) unanimous decision
January 13, 2015 Jesinoski v. Countrywide Home Loans, 1nc., 2015 WL 144681.

Alleged foreclosure sale is imminent and, as such, Defendant/debt collectors
continue to threaten, harass and trespass on Consumer’s inalienable rights

Plaintiff has demonstrated, through facts and evidence, that Defendants have
violated by their willful failure to state a material fact, or the willful concealment of a
material fact in their commencement of a non judicial foreclosure to collect a debt against
the Plaintiff.

Plaintiff respectfully seeks this Court to do their constitutional duty (Oath) that this
Court is required to, under their Constitutional Oath to Enforce the Federal Laws to
protect and defend the Constitutional rights of the individual Consumer against this
corporate giants' abuse

Plaintiff asks this Court to uphold the "Rule of Law" and protect the Plaintiffs
rights according to the "Law of the Land," "due process of law," and "due course of law"
are synonymous People v. Skinner, Cal., 110 P.2d 41, 45; State v. Rossi, 71, R.I. 284, 2d
323, 326; Direct Plumbing Supply Company v. City of Dayton, 138 Ohio St. 540, 38 N.E.
2d 70, 72, 137 A.L.R. 1058; Stoner v. Higginson, 316 Pa. 481, 175 A. 527, 531.

Defendant's errors in quoting incorrect Court Rules notwithstanding it is a
functional impossibility for Consumer Plaintiff, a laymen, and/or any juris doctorate for
that matter, to explain the horrendous and numerous acts unlawfully perpetrated against
the State of Arizona, the Body Politic of Arizona, and the Consumer Plaintiff by
Defendants in a few “short” paragraphs

Defendants have spent untold millions of dollars and possibly thousands of hours

of attorney’s time to contrive such an abysmal scheme to steal from the people, the

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Counties, the States and the United States of America simultaneously

By Law and Precedent and in accordance with the Supreme Court of the United
States pro se pleadings l\/lAY NOT be held to the same standard as a lawyer’s and/or
attorney’s Additionally, pro se motions, pleadings and all papers may ONLY be judged
by their function and never their form. Litigants are to be held to less stringent pleading
standards See: Haines v. Kemer, 404 U.S. 519-421 Anastasoff v. United States, 223 F.3d
898 (8th Cir. 2000) Emphasis Added

Defendants standard business practices are designed to receive pecuniary gain from
the Violations of Federal Laws Defendant's acts, committed under the guise of a ‘lawful
transaction’ to unlawfully convert real property from the Consumer, the lawful owner, to a
"vulture investment" corporation

WHEREFORE, Plaintiff demands judgment against Defendants Caliber Home
Loans, Inc., LSF9 Master Participation Trust, and Summit Service and Realty LLC jointly
and separately for actual or statutory damages, treble and/or punitive damages, attomey's
fees and costs, along with any other and further relief as the court deems just and proper.

For want of all of the above, Plaintiff now seeks this honorable Court’s immediate
intervention Plaintiff believes, in consideration of all of the foregoing, that Plaintiff has
established just and proper cause for this Court to immediately intervene, by enjoining
Defendants from any further unlawful action, lest further, irreparable harm and injury, and
loss of property befall Plaintiff; and, to further issue declaratory relief consistent herewith.
THEREFORE, this Court should grant Summary Judgment in favor of Plaintiff.

IN THE ALTERATIVE until all Facts, are Clarified, as to be determined
following the completion of discovery, which is now pending, and, to provide Plaintiff,

thereafter, Oral Argument, and/or any other relief this court deems just and proper.

RESPECTFULLY sUBMlTTED: This 18th day er etebet, 2017_

BY`:%L</N/r/ /"// _ 5 _ / , //2/" , agent
Codsumer `C!£mant Michael J Brosnahan,
Sincerely a d signed without prejudice,

 

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VERIFIED AFFIDAVIT
The undersigned Affiant, Consumer Claimant Michael J Brosnahan, pro per, a natural
person, hereinafter “Affiant”, does solemnly declare and state as follows:

    

1. Affiant is competent to state the matters set forth herein
2. Affiant has knowledge of the facts stated herein
3. All the facts herein are true, correct and complete, not misleading, to the best of
Affiants knowledge and belief, and admissible as evidence, and if called upon as a witness,
Affiant will testify to their veracity. -» y / z / """
BYZ//tt% / , »_/Q, -~ "/ /< ' , agent

 

Consdmer Claimant Michael J Brosnahan pro per
Sincerely and signed without prejudice,

CERTIFICATE OF SERVICE
ORIGINAL and COPY of the foregoing
Delivered and Filed with the Clerk of the
Court,

This 18th day of October, 2017

The Honorable Douglas L. Rayes
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZGNA

Conformed COPY of the foregoing
Perkins Coie LLP

Brian C. Lake

Kendra L. Haar

2901 North Central Avenue, Suite 2000
Phoenix, Arizona 85012-2788
Attomeys for Defendants Caliber Home
Loans, LSF9 Master Participation Trust,
and Summit Services and Realty LLC

BY?j/jfi;t .< >< 1; ¢’ /// ~-5agent

Qf)nsumer Q,l”aimant Michael J Brosnahan,

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Sincerely and signed without prejudice

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